                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                       CIVIL ACTION NO. 3:20-CR-189-KDB-DCK

 UNITED STATES OF AMERICA,                               )
                                                         )
                 Plaintiff,                              )
                                                         )
     v.                                                  )       ORDER
                                                         )
 BRIAN ELLIOTT KURSONIS,                                 )
                                                         )
                 Defendant.                              )
                                                         )

          THIS MATTER IS BEFORE THE COURT on Defendant’s “Motion To Seal

Sentencing Memorandum” (Document No. 24) filed October 19, 2020. In accordance with the

Local Rules, the Court has considered the Motion to Seal, the public’s interest in access to the

affected materials, and alternatives to sealing. The Court determines that no less restrictive means

other than sealing is sufficient inasmuch as Defendant’s Sentencing Memorandum contains

sensitive and private information that is inappropriate for public access, including Defendant’s

medical records. Having carefully considered the motion and the record, and for good cause, the

undersigned will grant the motion.

          IT IS, THEREFORE, ORDERED that Defendant’s “Motion To Seal Sentencing

Memorandum” (Document No. 24) is GRANTED, and the Sentencing Memorandum (Document

No. 23) is sealed until further Order of this Court.


                                          Signed: October 20, 2020




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